                Case 1:24-mi-99999-UNA Document 2453-5 Filed 07/31/24 Page 1 of 1




                                                                                D
                                                     LEIBEL                                      LAW
                                                          STEVEN LEIBEL, RC.
3619 S. Chestatee                                                   w w w. l e i b e l . c o m         Phone: (404) 892-0700
Dahlonega, GA 30533                                                                                      Fax: (770) 844-0015


                                                                     June 16, 2023




       VIA    USPS          PRIORIOTY         CERTIFIED                MAIL
       RETURN          RECEIPT          REQUESTED
       T r a c k i n g N o . 9 4 0 2 7 11 2 0 6 2 0 7 6 2 6 3 3 2 2 5 4


       Ms. Pam Godbee

       Central Insurance Companies
       P. O . B o x 3 5 3
       Van Wert, OH 45891-9938

                    RE:

                              Your Policyholder:                Nathan Sheets
                              Claim Number:                     1000419640

                              Policy Number:                    FMA 3627637
                              Incident Date:                    03/26/2022
                              Our Client:                       Elliott Wedde, deceased

       Dear Ms. Godbee:


                 Please con rm that you are denying coverage for Nathan Sheets and also for his parents.
       If that is not the case, when do you expect to tender the $250,000?

                                                                           Best regards.




       SKL/bjp


                                                              EXHIBIT
                                                                        E
                                                              STEVEN l.EIBEL, P.C.


                                                    D A H L O N E G A ● G U M M I N G ● AT L A N TA
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